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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

    IN RE:                                              §
                                                        §
    AUTOMOTIVE PARTS                                    §          CASE NO. ____________________
    DISTRIBUTION INTERNATIONAL,                         §
    LLC 1,                                              §          CHAPTER 11
                                                        §
          DEBTOR.


                       DISCLOSURE OF EQUITY SECURITY HOLDERS

        Pursuant to Rule 1007(a)(3) of the Federal Rules of Bankruptcy Procedure, Automotive

Parts Distribution International, LLC’s member shares are wholly-owned by Fruitage International

Co., Ltd., a Belize corporation (“Fruitage”). The shares of Fruitage are wholly-owned by Enterex

International Limited, a corporation and existing under the laws of the Cayman Islands

(“Enterex”), and whose shares are publicly traded on the Taiwan Stock Exchange (TWSE).

Fruitage International Co., Ltd.’s address is 5, Lane 796 Ming-Sheng Road, Taoyuan 330, Taiwan.




1
 The last four digits of the Debtor's federal tax identification number are 8135. The Debtor’s address is 3000 E.
Pioneer Pkwy., Arlington, TX 76010.
_____________________________________________________________________________________________
DISCLOSURE OF EQUITY SECURITY HOLDERS                                               Page 1 of 1
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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

    IN RE:                                              §
                                                        §
    AUTOMOTIVE PARTS                                    §          CASE NO. ____________________
    DISTRIBUTION INTERNATIONAL,                         §
    LLC 1,                                              §          CHAPTER 11
                                                        §
          DEBTOR.


                            CORPORATE OWNERSHIP STATEMENT

        Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

Automotive Parts Distribution International, LLC’s member shares are wholly-owned by Fruitage

International Co., Ltd., a Belize corporation (“Fruitage”). The shares of Fruitage are wholly-

owned by Enterex International Limited, a corporation and existing under the laws of the Cayman

Islands (“Enterex”), and whose shares are publicly traded on the Taiwan Stock Exchange (TWSE).




1
 The last four digits of the Debtor's federal tax identification number are 8135. The Debtor’s address is 3000 E.
Pioneer Pkwy., Arlington, TX 76010.
_____________________________________________________________________________________________
CORPORATE OWNERSHIP STATEMENT                                                       Page 1 of 1
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      Fill in this information to identify the case:

                  Automotive Parts Distribution International, LLC
      Debtor name __________________________________________________________________
                                              Northern
      United States Bankruptcy Court for the: ______________________             Texas
                                                                     District of _________

      Case number (If known):   _________________________
                                                                                (State)
                                                                                                                                             Check if this is an
                                                                                                                                                 amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                                                                                                     12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete            Name, telephone number, and      Nature of the claim   Indicate if     Amount of unsecured claim
     mailing address, including zip code      email address of creditor        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                              contact                          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in
                                                                               professional          unliquidated,   total claim amount and deduction for value of
                                                                               services, and         or disputed     collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                     Total claim, if    Deduction for       Unsecured
                                                                                                                     partially          value of            claim
                                                                                                                     secured            collateral or
                                                                                                                                        setoff
     Jiangsu Kaller Auto Parts Technology    Carrie Cheng                      Trade Debt            Unliquidated                                          $1,459,806.80
1    Co., LTD                                15950376127
     No. 218 Huaihe Road, Huaiyin District   carrie@jskaller.com
     Huanin City
     Jiangsu Province, CHINA
     U&C Auto Parts Company LTD              Lynn Jiang                        Trade Debt            Unliquidated                                         $983,052.14
2    5th Floor, A9 Building                  86-25-52129310
     8 East Shengtai Road                    lynn@ucradiator.com
     Naning, CHINA

     Guang Dong Commercial Trading           Roberto Mancin                    Trade Debt            Unliquidated                                         $761,170.23
3    For TechRad Automotive Thermal          305-793-0596
     Systems                                 rmancin@hactec.com
     111-115 WUYANG XINCHENG SQ,
     SHIYOUXIN RD
     Agility Auto Parts Inc.                 Rick Calagoure                     Trade Debt           Unliquidated                                         $630,012.32
4    1010 Polytek Street, Unit 19            613-462-8090
     Ottawa, Ontario K1J9J1                  rick.calagoure@agilityautoparts.co
     CANADA                                  m

     Jiangyin HongYang Auto Cond Eq. Co,     Shirley Cao                       Trade Debt            Unliquidated                                         $416,524.96
5    Ltd                                     86-510-86517987
     Huacheng Road 3, Industry Area          sc@jyhyautoparts.com
     Qingyang Town, Jiangyin
     Jiangsu 214401, CHINA
     Central AutoParts LLC                   Kalli Sun                         Trade Debt            Unliquidated                                         $349,600.41
6    33 N. LaSalle St, Suite 2030            312-721-1500
     Chicago, IL 60602                       centralautopartsllc@gmail.com


     King Shing Industrial Co, LTD           Shining Ho                        Trade Debt            Unliquidated                                         $118,088.05
7    No. 3, Gongye 1st Rd., Pingzhen Dist.   886 3-419-5988
     Taoyuan City 32461, TAIWAN              shining@kingshing.com


     Shenzhen U-Man Industrial Co., Ltd.     Flower Xu                         Trade Debt            Unliquidated                                         $104,636.14
8    Suite 515, Maoyuan Bldg, Songyuan       86-755-25563469
     Rd                                      xiaohua@umcooling.com
     Shenzhen 518001, CHINA




    Official Form 204           Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                                     page 1
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    Debtor        Automotive Parts Distribution International, LLC
                  _______________________________________________________                            Case number (if known)_____________________________________
                  Name




     Name of creditor and complete             Name, telephone number, and     Nature of the claim    Indicate if     Amount of unsecured claim
     mailing address, including zip code       email address of creditor       (for example, trade    claim is        If the claim is fully unsecured, fill in only unsecured
                                               contact                         debts, bank loans,     contingent,     claim amount. If claim is partially secured, fill in
                                                                               professional           unliquidated,   total claim amount and deduction for value of
                                                                               services, and          or disputed     collateral or setoff to calculate unsecured claim.
                                                                               government
                                                                               contracts)
                                                                                                                      Total claim, if    Deduction for       Unsecured
                                                                                                                      partially          value of            claim
                                                                                                                      secured            collateral or
                                                                                                                                         setoff

     DYE LIH TECHNOLOGY CO., LTD              David Wu                         Trade Debt             Unliquidated                                         $102,814.55
9    No. 188 Ln. 552, Fuping Rd.              886-3-498-8968
     Guanyin Dist.                            sales@dyelih.com
     Taoyuan City 328, TAIWAN

     Qingdao Everbright Machinery Co, LTD Anna                                 Trade Debt             Unliquidated                                         $99,361.54
10 No. 40, Shangdong Road, Unit 1503      86-532-85815237
     Qingdao 266071, CHINA                anna@qingdaoruijing.com


     JYA Whole Century Industrial Co, LTD Lisa                                 Trade Debt             Unliquidated                                         $91,775.50
11 No. 111, Xuefu Rd., South Dist         886-4-2285-7888
     Taichung City 402, TAIWAN            jyaautoparts@gmail.com


     ACA Team LLC                             Carl Nulsen                      Staffing Agent         Unliquidated                                         $67,361.79
12 3005 E. Abram St., Suite A                 972-201-9721
     Arlington, TX 76010                      carin@aca-team.com


     Stride Staffing                          Amy                              Staffing Agent         Unliquidated                                         $29,881.14
13 PO Box 832920                              469.248.0241
     Richardson, TX 75083-2920                adelacruz@stridestaffing.com


     ESTES Express Lines                      Leah Llamido                     Trade Debt             Unliquidated                                         $29,414.21
14 PO Box 105160                              714.523.1122 ext 5554
     Atlanta, GA 30348-5160                   leah.llamido@estes-express.com


     RMDS                                     Scott Young                      Trade Debt             Unliquidated                                         $18,153.43
15 PO Box 102337                              404.243.9555
     Atlanta, GA 30368                        Scott_Young@genpt.com


     SAIA Motor Freight Line, Inc.            Pedro                            Trade Debt             Unliquidated                                         $15,846.34
16 PO Box 730532                              214-392-7755
     Dallas, TX 75373-0532                    psaucedo@saia.com


     Kamps Inc.                               Jason Davis                      Trade Debt             Unliquidated                                         $13,594.08
17 PO Box 675126                              616.453.9676
     Detroit, MI 48267-5126                   ar@kampspallets.com


     YRC                                      Martha Talavera                  Trade Debt             Unliquidated                                         $12,530.11
18 PO Box 730375                              913.344.4589
     Dallas, TX 75373-0375                    Martha.Talavera@YRCFreight.co
                                              m

     Green Mountain Energy                    866-280-3603                     Trade Debt             Unliquidated                                         $10,536.09
19 Dept. 1233                                 gmecbizcare@greenmountain.co
     PO Box 121233                            m
     Dallas, TX 75312-1233

     FEDEX Freight                            Jennifer Liles                   Trade Debt             Unliquidated                                         $10,058.71
20 PO Box 223125                              870-741-9000
     Pittsburgh, PA 15251-2125                jennifer.liles@fedex.com




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ACA Team LLC
Attn. Carl Nulsen
3005 E. Abram St., Suite A
Arlington, TX 76010


Agility Auto Parts Inc.
Attn. Rick Calagoure
1010 Polytek Street, Unit 19
Ottawa, Ontario K1J9J1
CANADA


Atmos Energy
PO Box 740353
Cincinnati, OH 45274‐0353


ATT
PO Box 105414
Atlanta, GA 30348‐5414


ATT
PO Box 6463
Carol Stream, IL 60197‐6463


Caine and Weiner Co, Inc.
c/o Shenzhen U‐Man Industrial Co, Ltd.
5805 Sepulveda Blvd, Fl. 4
Sherman Oaks, CA 91411‐2532


Central AutoParts LLC
Attn. Kalli Sun
33 N. LaSalle St, Suite 2030
Chicago, IL 60602


Central Freight Lines
DEPT 42042
PO Box 650823
Dallas, TX 75265‐0823


Charles Pontecorvo
218 Randolph Rd
Middletown, CT 06457
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Chase‐N‐Sales
14168 Golfview
Livonia, MI 48154


Chris Kouri and Associates
1200 North Jefferson St, Suite K
Anaheim, CA 925807


Crown Packaging Corp.
Attn. Dana McKamely
PO Box 17806M
St. Louis, MO 63195


CSF Inc.
2941 N. Locust Ave
Rialto, CA 92377


D.I.F. Inc.
Attn. Maxine Ouyang
301 Byers Avenue
Euless, TX 76039


DataPoint Inc.
28520 SE Church Rd
Boring, OR 97009


Daylight Transport, LLC
Attn. Judy Kahl
PO Box 93155
Long Beach, CA 90809


DYE LIH TECHNOLOGY CO., LTD
Attn. David Wu
No. 188 Ln. 552, Fuping Rd.
Guanyin Dist.
Taoyuan City 328, TAIWAN


Echo Global Logistics Inc.
c/o Accounts Receivable
22168 Network Place
Chicago, IL 60673‐1221
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Enterex America LLC
2046 Boston Post Road
Westbrook, CT 06498


ESTES Express Lines
Attn. Leah Llamido
PO Box 105160
Atlanta, GA 30348‐5160


Evergreen Sales Group, Inc
18915 142nd Ave. NW, Suite 145
Woodinville, WA 98072


FEDEX Freight
Attn. Jennifer Liles
PO Box 223125
Pittsburgh, PA 15251‐2125


Fruitage International Co., LTD.
Attn. Diane Shen
5, Lane 796 Ming‐Sheng Road
Taoyuan 330, TAIWAN


Gantt‐Thomas and Associates Inc.
3003 E. Chestnutt Expressway, Ste 250
Springfield, MO 65803


Glazier Sales
Attn. Mike Glazier
18344 N 93rd Way
Scottsdale, AZ 85255


Green Mountain Energy
Dept. 1233
PO Box 121233
Dallas, TX 75312‐1233


Guang Dong Commercial Trading
Attn. Roberto Mancin
For TechRad Automotive Thermal Systems
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111‐115 WUYANG XINCHENG SQ, SHIYOUXIN RD
GUANGZHOU 510600, CHINA


Hecny Transportation, Inc.
19550 S. Dominguez Hills Dr.
Rancho Dominguez, CA 90220


Hercules Forwarding Inc.
7701 West 95th Street
Hickory Hills, IL 60457


Interface Security Systems LLC
8339 Solutions Center
Chicago, IL 60677‐8003


Jiangsu Kaller Auto Parts Techn Co, LTD
Attn. Carrie Cheng
No. 218 Huaihe Road, Huaiyin District
Huanin City
Jiangsu Province, CHINA


Jiangyin HongYang Auto Cond Eq. Co, Ltd
Attn. Shirley Cao
Huacheng Road 3, Industry Area
Qingyang Town, Jiangyin
Jiangsu 214401, CHINA


John DeCampos
25 Walnut Terrace
Naugatuck, CT 06770


JYA Whole Century Industrial Co, LTD
Attn. Lisa
No. 111, Xuefu Rd., South Dist
Taichung City 402, TAIWAN


Kamps Inc.
Attn. Jason Davis
PO Box 675126
Detroit, MI 48267‐5126
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King Shing Industrial Co, LTD
Attn. Shining Ho
No. 3, Gongye 1st Rd., Pingzhen Dist.
Taoyuan City 32461, TAIWAN


Meridian Propane
PO Box 136847
Fort Worth, TX 76136


Mountain Movers
Transportation and Logistics
PO Box 1272
Grapevine, TX 76099


Nevins Sales
7900 Excelsior Blvd
Suite 104A
Hopkins, MN 55343‐3467


Oak Cliff Office Products
1876 Lone Star Dr.
Dallas, TX 75212


P.R.O.S. Inc.
PO Box 101353
Fort Worth, TX   76185


Performance Radiator Pacific, LLC
PO Box 11224
Tacoma, WA 98411‐0224


Pro‐Reps Sales
Attn. Shane Brown
10639 Gordon Road
Spotsylvania, VA 22553


Qingdao Everbright Machinery Co, LTD
Attn. Anna
No. 40, Shangdong Road, Unit 1503
Qingdao 266071, CHINA
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Raymond Leasing Corporation
c/o Account Receivable
PO Box 301590
Dallas, TX 75303‐1590


RMDS
Attn. Scott Young
PO Box 102337
Atlanta, GA 30368


Saia Motor Freight Line, Inc.
PO Box 730532
Dallas, TX 75373‐0532


Seth F. Johnson Sales, Inc
121 Boston Post Road
Sudbury, MA 01776


Shenzhen U‐Man Industrial Co., Ltd.
Attn. Flower Xu
Suite 515, Maoyuan Bldg, Songyuan Rd
Shenzhen 518001, CHINA


Southwest International Freight
8189 S. Central Expressway
Dallas, TX 75241


Stride Staffing
Attn. Amy
PO Box 832920
Richardson, TX 75083‐2920


System Concepts, Inc.
1702 Minters Chapel Rd, Suite 102
Grapevine, TX 76051


Thermal Solutions Mfg. Inc.
PO Box 776185
Chicago, IL 60677‐6185


Truist Bank
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2001 Ross Ave, Suite 2700
Dallas, TX 75201


UC Auto Parts Company LTD
Attn. Lynn Jiang
5th Floor, A9 Building
8 East Shengtai Road
Naning, CHINA


U.S. Road Freight
PO Box 9070
Witchita, KS 67277‐0070


UPS
Lockbox 577
Carol Stream, IL   60132‐0577


UT Freight Service USA Ltd.
156‐15 146th Avenue, Suite 101
Jamaica, NY 11434


Verizon
PO Box 15043
Albany, NY 12212‐5043


VWR International, Inc.
PO Box 501193
Indianapolis, IN 46250


YRC
Attn. Martha Talavera
PO Box 730375
Dallas, TX 75373‐0375


Office of the United States Trustee
1100 Commerce Street, Room 976
Dallas, TX 75242‐1699


Office of the United States Attorney
3rd Floor, 1100 Commerce Street
Dallas, TX 75242‐1699
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Attorney General of the United States
Office of the Attorney General
Main Justice Building, Room 5111
10th & Constitution Avenue, N.W.
Washington, D.C. 20530


Internal Revenue Service
Special Procedures‐Insolvency
P.O. Box 7346
Philadelphia, PA 19101‐7346


Texas Attorney General’s Office
Bankruptcy‐Collections Division
P.O. Box 12548
Austin, TX 78711‐2548


Texas State Comptroller of Public Accts
Revenue Accounting Division‐
Bankruptcy Section
P.O. Box 13528
Austin, TX 78711


Texas Workforce Commission
TEC Building‐ Bankruptcy
101 East 15th Street
Austin, TX 78778
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